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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

. Case No. 1:18-CV-O5290-C|\/|
Gelgtech East Bay LLC Plaintiff,

-against-

Lutron E|ectronlcs CO., |nc. Defendant.

NOTICE OF CHANGE OF ADDRESS

TO: ATTORNEY SERVICES CLERK AND ALL OTHER PARTIES

I have cases pending E I have no cases pending

Pursuant to Local Rule 1.3 ofthis Court, please take notice ofthe following attorney information change (s) for:

Scott W. Breed|ove
FILL IN ATTORNEY NAME

 

My SDNY Bar Number is: iiiiiiiiiiiiiiiii My State Bar Number is iqngq?l§l iiiii

I am,
g An attorney
E A Government Agency attorney
A Pro Hac Vice attorney

FIRM INFORMATION (lnclude full name of firm (OLD AND NEW), address, telephone number and faX number):

oLD FIRM; FIRM NAME; Vinson & E|kins LLP
FIRM ADDRESS: 2001 Ross Avenue, Suite 3700
FIRM TELEPHONE NUMBER: (214) 220-7700
FIRM FAX NUMBER: (214) 220-7716

 

 

 

 

NEW FIRM: FIRM NAME: Carter Arnett PLLC
FIRM ADDRESS: 8150 N. Centra| Expresswav, Suite 500
FIRM TELEPHONE NUMBER: (2‘| 4) 550-8172
FIRM FAX NUMBER; (214) 550-8185

 

 

 

 

I Will continue to be counsel of record on the above-entitled case at my new firm/agency.

I am no longer counsel of record on the above-entitled case. An order WithdraWing my appearance
Was entered on iiiiiiiiiiiiii by Judge

 

Dated; June 28, 2018 /s/ Scott W. Breec||ove
ATTORNEY’S SIGNATURE

 

